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THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

BALTIMORE DIVISION

FRANCIS NOLAN *

325 Durfor Street

Philadelphia, PA 19148 *

Civil Case No.:
Vv. *
JURY TRIAL DEMAND

O.C. SEACRETS, INC. *

117 West 49" Street

Ocean City, MD 21842 *

Serve On: Mr. Leighton W. Moore, Jr., Resident Agent
117 West 49" Street *
Ocean City, MD 21842
*

and
0.C. SEACRETS, LLC

117 West 49" Street *
Ocean City, MD 21842

*

Serve On: Mr. Leighton W. Moore, Jr., Resident Agent
117 West 49" Street
Ocean City, MD 21842
. COMPLAINT
Plaintiff, FRANCIS NOLAN (“Mr. Nolan”), by and through his undersigned attorneys,
Amy L. Taylor, Esquire and Hearne & Bailey, P.A., hereby files this Complaint against
Defendants, 0.C. SEACRETS, INC. and 0.C. SEACRETS, LLC (collectively referred to as
“Defendants”), related to an injury that occurred on August 19, 2017, in Ocean City, Worcester
County, Maryland, and for cause of action against Defendants states as follows:
PARTIES
1. Mr. Nolan was, at all relevant times, and continues to be a citizen of the United

States and an adult resident of the State of Pennsylvania.
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2. Defendant O.C. Seacrets, Inc., upon information and belief, was, at all relevant
times, and continues to be, a company incorporated under the laws of the State of Maryland,
having its principal place of business in the State of Maryland, which routinely conducts and
transacts business in the State of Maryland. Specific to this case, Defendant, O.C. SEACRETS,
INC., is the owner, operator and/or management company of the Seacrets Resort located in
Ocean City, Maryland where this incident occurred.

3. Defendant O.C. Seacrets, LLC, upon information and belief, was, at all relevant
times, and continues to be, a limited liability company formed under the laws of the State of
Maryland, having its principal place of business in the State of Maryland, which routinely
conducts and transacts business in the State of Maryland. Specific to this case, Defendant, O.C.
SEACRETS, LLP., is the owner, operator and/or management company of the Seacrets Resort
located in Ocean City, Maryland where this incident occurred.

JURISDICTION AND VENUE

4. This Court has jurisdiction over the subject matter of this Complaint as a tort
claim between citizens of different states pursuant to 28 U.S.C. §1332.

5. The amount in controversy exclusive of interests and costs exceeds the sum of
Seventy-Five Thousand ($75,000.00) Dollars.

FACTS COMMON TO ALL COUNTS

6. Mr. Nolan incorporates by reference the allegations of the preceding paragraphs.

7. On or about August 19, 2017, Mr. Nolan was a customer and business invitee at
the Seacrets Resort located at 117 West 49" Street in Ocean City, Worcester County, Maryland.

8. On or about August 19, 2017, Mr. Nolan suffered a severe laceration injury to his
left foot as a result of a defective and hazardous condition of an outdoor seating/table in the form

of exposed jagged and otherwise defective metal in the area where customers would place their

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feet.
COUNT I - Negligence

9. Mr. Nolan incorporates by reference the allegations of the preceding paragraphs.

10. As the owner, operator, and/or management company of the Seacrets Resorts,
Defendants, through their agents, servants, contractors and/or employees, had complete control
of the subject area including, but not limited to, the outdoor seating/table in question.

11. Defendants through their agents, servants, contractors, and/or employees owed a
duty of due care to Mr. Nolan to inspect, repair, re-mediate, and maintain the seating/table
facility in question in a safe and reasonable manner.

8. Defendants were negligent in that they:

(a) failed to properly inspect the seating/table facility in
question;

(b) failed to properly maintain the seating/table facility
in question;

(c) failed to repair the seating/table facility in question;

(d) failed to replace the seating/table facility in
question; and

(e) Failed to warn customers of hazardous conditions of
the seating/table facility in question.

9. Defendants, through their agents, servants, contractors, and/or employees, had a
duty to perform the necessary inspections, evaluations, warnings, remediations, repairs, and
replacements to prevent, discover, and avoid the hazards and dangerous conditions which they
knew, or should have known, existed and to take any and all measures to ensure a safe premises
for those persons who would be invited onto the premises.

10. Defendants, through their agents, servants, contractors, and/or employees,

breached all of the aforesaid duties.
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11. Defendants are vicariously liable for the negligent acts and/or omissions of their
agents, servants, and/or employees, while such individuals were acting within the course and
scope of their employment.

12. Asa direct and proximate result of the aforesaid negligence of Defendants, Mr.
Nolan, was caused to suffer severe and permanent injuries to his left foot and left leg, pain and
suffering (past and future), and other economic and non-economic damages (past and future),
including, but not limited to, amounts incurred for medical care and treatment for injuries
sustained in the occurrence, lost wages, and other damages (past and future). For several months
following the injury to his left foot, Mr. Nolan suffered from a cellulitis infection in his left foot
and suffered shooting, radiating pain in his left foot to his left toes. In August 2018, Mr. Nolan
underwent surgery to excise the large keloid scar on his left foot, and remove a foreign body in
his left foot. Mr. Nolan continues to suffer pain in his left foot as a result of the injury and
keloid scar from this incident. In addition, he lost muscular strength and muscular mass in his
left leg due to the way that he walks as a result of the injury to his left foot.

WHEREFORE, Plaintiff, FRANCIS NOLAN, requests that a judgment be entered in his
favor and against Defendants, jointly and severally, for an amount in excess of Seventy-Five
Thousand ($75,000.00) Dollars, together with interests and costs, as well as such further

additional relief as justice may require and which this Honorable Court deems just and proper.

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August \\___, 2020 Q~4o1 oy

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